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 7
   Attorneys for Counter-Defendant
 8 Tauler Smith LLP
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10
                          UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12
13   IN RE OUTLAW LABORATORIES,           Case No.: 18-cv-840-GPC-BGS
     LP LITIGATION
14                                        COUNTER-DEFENDANT TAULER
15                                        SMITH LLP’S NOTICE OF INTENT TO
                                          FILE OPPOSITION TO THE OUTLAW
16                                        DEFENDANTS’ EX PARTE MOTION
17                                        TO PREVENT TAULER SMITH’S
                                          DISCLOSURE OF PRIVILEGED
18                                        MATERIALS (ECF # 321)
19
20                                        Judge:     Hon. Gonzalo P. Curiel
                                          Courtroom: Courtroom 2D
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       TAULER SMITH LLP’S NOTICE OF INTENT TO FILE OPPOSITION TO THE OUTLAW
               DEFENDANTS’ EX PARTE RE PRIVILEGED EMAILS (ECF # 321)
 Case 3:18-cv-00840-GPC-BGS Document 322 Filed 10/30/20 PageID.7922 Page 2 of 3



 1        TO    THE    HONORABLE          COURT,     ALL     PARTIES,      AND     THEIR
 2 ATTORNEYS OF RECORD:
 3        PLEASE TAKE NOTICE THAT pursuant to the Honorable Gonzalo P. Curiel’s
 4 Civil Pretrial & Trial Procedures, Counter-Defendant Tauler Smith LLP (“Tauler Smith”)
 5 intends to file an opposition to Outlaw Laboratory, L.P.’s, Michael Wear’s, and Shawn
 6 Lynch’s Ex Parte Motion to Prevent Tauler Smith’s Disclosure of Privileged Materials
 7 (ECF # 321).
 8        Tauler Smith will file its opposition by 5 p.m. on Monday, November 2, 2020.
 9
     DATED: October 30, 2020             Respectfully submitted,
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11                                       KJC LAW GROUP, A.P.C.

12                                By:    /s/ Kevin J. Cole
                                         Attorneys for Counter-Defendant
13                                       Tauler Smith LLP
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        TAULER SMITH LLP’S NOTICE OF INTENT TO FILE OPPOSITION TO THE OUTLAW
                DEFENDANTS’ EX PARTE RE PRIVILEGED EMAILS (ECF # 321)
 Case 3:18-cv-00840-GPC-BGS Document 322 Filed 10/30/20 PageID.7923 Page 3 of 3



 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed, or caused to be filed, the foregoing with
 3 the Clerk of the Court for the United States District Court for the Southern District of
 4 California by using the CM/ECF system on October 30, 2020. I further certify that all
 5 participants in the case are registered CM/ECF users and that service will be accomplished
 6 by the CM/ECF system.
 7        I certify under penalty of perjury that the foregoing is true and correct. Executed on
 8 October 30, 2020.
 9                                         KJC LAW GROUP, A.P.C.

10                                  By:    /s/ Kevin J. Cole
                                           Attorneys for Counter-Defendant
11                                         Tauler Smith LLP
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        TAULER SMITH LLP’S NOTICE OF INTENT TO FILE OPPOSITION TO THE OUTLAW
                DEFENDANTS’ EX PARTE RE PRIVILEGED EMAILS (ECF # 321)
